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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA AUG 28 2023 PH12:56
FILED - USDC - FLMD - TPA
TAMPA DIVISION
ERIK MISHITYEV;

Plaintiff, Case No..@'- Ld- CN- \AYO-KkM- Tow

v.
ARLANDAL ‘ORLANDO?’ DAVIS;
BEASLEY MEDIA GROUP, LLC;

Defendants.
/

INTRODUCTION

COMES NOW, the Plaintiff, ERIK MISHIYEV (the “Plaintiff” or “Mr. Mishiyev”) sues
the Defendants, ARLANDAL ‘ORLANDO’ DAVIS and BEASLEY MEDIA GROUP, LLC,

jointly and severally, for damages and other relief and as grounds, therefore, aver as follows:

COMPLAINT AND JURY TRIAL DEMANDED

COMES NOW, the Plaintiff(s), ERIK MISHTYEV (the “Plaintiff” and his “Company”)

says as follows:
PARTIES

1. Plaintiff, ERIK MISHIYEYV (the “Plaintiff” or “Mr. Mishiyev”) is an individual and is a
resident of the State of Florida, in Hillsborough County, Florida.

2. Defendant, ARLANDAL ORLANDO DAVIS (“Mr. Davis”) is an individual and is a
resident of the State of Florida, in Pinellas County, Florida.

3. Defendant, BEASLEY MEDIA GROUP LLC (“Beasley”) is a Florida Limited Liability
Company, with its headquarters in Collier County, Florida.

4. Collectively all Defendants will be referred to as the “Defendants”.

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SUBJECT MATTER JURISDICTION AND VENUE
5. This Court has subject matter jurisdiction pursuant to 28 U.S.C § 1331 as federal questions

are presented.

6. This is an action for intentional racial discrimination in employment pursuant to 42 U.S.C.
§1981 and and this Court has jurisdiction over those claims pursuant to 28 U.S.C. § 1331.

7. Venue is properly found in this District pursuant to 28 U.S.C. §1391(b), in that all parties

reside, and plaintiffs’ claims arose, within the district.

8. The Court has supplemental jurisdiction over Plaintiff's state law claims, pursuant to 28
U.S.C. §1367(a).

9. The state law claims are INTENTIONAL INTERFERENCE WITH BUSINESS
RELATIONS, DEFAMATION, INTENTIONAL INFLICTION OF EMOTIONAL
DISTRESS, NEGLIGENT SUPERVISION and ASSAULT.

STATEMENT OF FACTS
10. This action arises from 20-years of Sabotage from the Defendants, who are major corporate

players in the music and radio industry, against the Plaintiff, a sole proprietor and
competitor, who at one time was in high demand and a very successful nightclub DJ in NY,
Miami, Tampa Bay and Los Angeles. Evidence will show that Beasley Media Group and
their Program Director conducted and encouraged illegal business activities in a classic
case of corporate greed, discrimination and sabotage. The Plaintiff Mr. Mishiyev makes
these statements of facts under oath and is willing to take a lie detector test. Plaintiff
has multiple witnesses, signed affidavits and even a self-incriminating piece of VIDEO
evidence that the court must see. This video the Defendant released to the public and the
evidence found at the end of this complaint will give the Honorable Judges assigned to this
case a better understanding of what really happened to the Plaintiff, Erik Mishiyey AKA
_ DJ Short-E.

11. Mr. Mishiyev was born in Brooklyn, New York and became extremely passionate about
the music industry in the early 1990’s, when he was a teenager. Michael Jackson and
Whitney Houston were his favorites artists and he was inspired by Hot 97.1FM a New
York City hip-hop radio station.

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12. Mr. Mishiyev is an immigrant of Jewish heritage and grew up in a lower class orthodox
Jewish community in Brooklyn NY at first. He and his parents fled communism as refugees
and migrated to America in 1980. At first his dad drove a yellow cab and was a janitor.

13. Mr. Mishiyev’s family eventually moved to Orange County, NY and Plaintiff started
training as a Disc Jockey (“DJ”) in the early 1990’s. After graduating high school, he
decided to move to Tampa, FL in 1996 to attend college at HCC then USF to pursue his
dreams of becoming a nightclub and Radio DJ in Tampa.

14. Mr. Davis is of African American descent and originated from Indiana and after working
at a radio station as an intern in college, got transferred to Tampa 2 years after the Plaintiff
in 1998. He was named the Program Director and Morning Show Host at a new radio
station called Wild 98.7FM which later became 94.1FM which plays primarily Urban and
Hip Hop music.

15. After a few years, by 1999, Plaintiff landed a job as the “Resident DJ” of a once popular
nightclub called Rain Lounge in downtown Tampa, FL where he drew a big following,
including Tampa Bay Bucs players, Derek Jeter and even some of the Backstreet Boys.
Mr. Mishiyev, aka DJ Short-E was known as the driving force behind this venue’s success
and as a matter of fact, Mr. Davis and some of his employees also came out to Mr.
Mishiyev’s events from time to time. Plaintiff was booked 3 nights a week from 1999-2005
and started getting paid higher than the other DJ’s in town and got regular media coverage.
It is then when Plaintiff began to have issues with Defendant Mr. Davis. For some reason
even though Mr. Mishiyev had a big fan base at the time, Defendant(s) did not want to give
Plaintiff an equal opportunity of employment with them. The goal for any independent DJ
like Mr. Mishiyev is to get on the radio because it gives you status, stability and more
credibility because you’ re heard on the air. Oddly, Mr. Davis would hire less qualified DJs.

16. Mr. Mishiyev stood out at most hip-hop events as one of the few Jewish people and in 2004
when he met Mr. Davis, he explained his upbringing to Mr. Davis and at all times relevant,
Mr. Mishiyev was cordial and professional towards Mr. Davis when he encountered him
in public, as by this time Mr. Davis thanks to having an on-air position, become a popular
public figure in Tampa, Clearwater, St. Petersburgh and Sarasota markets. Mr. Davis also
has the power to hire and fire the DJs as the Program Director of Wild 94.1FM. He also

approves what songs are played and creates playlists.

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17. Beasley is a well-established multi-media company that for close to 100 years has owned
and operated radio stations across the continental United States of America, that focus on
many different genres (i.e. Country, Hip-Hop, Rock, Talk Radio, etc.)

18. Mr. Davis has been harassing and mocking Mr. Mishiyev and his Jewish last name since
they first met and recently posted a video on his Instagram page on 04/17/2022 admitting
that he was the reason that Plaintiff AKA DJ Short-E “ain’t made it the last 20 years”
(meaning that he sabotaged his competitor from becoming successful) and during this
video, Mr. Davis also stated that he is the “Big Boss” at Beasley Media Group.

19. The video the Defendant shares with thousands of followers and industry professionals is
the smoking gun evidence that proves Defendant knowingly participated in a pattern of
unlawful sabotaging behavior for 20 years against the Plaintiff. This destroyed the
Plaintiff's good reputation and prevented him from getting new bookings. This can be
corroborated by former employees of Beasley Media Group, such as Allision Gordon who
worked with the Defendant directly for 18 years and states she knows all about it. In a text
message to Plaintiff this witness insinuated that anyone who worked for Mr. Davis at Wild
94.1FM witnessed him vowing to “ruin” Mr. Mishiyev. See Composite Exhibit “A”

20. At all times relevant Mr. Davis was employed at Wild 94.1 and was or should have been
supervised by Beasley executives and ownership as Plaintiff believes he did not get a fair
or equal opportunity of employment with the Defendants based on his skin color, race, |
religious beliefs or ethnicity.

21. Given its prominence in the world of hip-hop and urban music, Wild 94.1FM is a station
that local, national and global artists and record labels need fair and equal treatment from
Radio employees in order to become successful in the music industry as they have sister
stations across the country.

22. Mr. Davis is both the Program Director/Manager and On-Air personality from 6AM-10AM
as host of Orlando and the Morning Freak Show.

23. At no time was Mr. Mishiyev ever employed by Beasley or Wild 94.1FM, however with
no legal justification, in July of 2017, someone at Beasley Media attempted to seek out
Plaintiff's trademark, but it was later canceled, due to the trademark having already been
registered by Mr. Mishiyev. Beasley created a fake caricature promoting a DJ, “Short-E”

but this imposter DJ did not present any likeness to Mr. Mishiyev. This is another example

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of sabotage with malicious intent to defraud and deceive the public of who the real DJ
Short-E is, while attempting to steal his copyrighted intellectual property. (see Sunbiz.org)

24. Mr. Mishiyev believes he should have been employed by Beasley Radio stations and/or
others because of his track record in Tampa and beyond, but due to the blatant bias, racism
and constant harassment displayed against him by Mr. Davis and some of Beasley
employees in other markets, Mr. Mishiyev instead was turned into an outcast.

25. Mr. Mishiyev in addition to his work as a DJ, started at TV show and several highly
successful YouTube channels in 2007 and based on information and belief, Mr. Davis
interfered with those channels because he knew Mr. Mishiyev earned good monthly AD
revenue. Mr. Davis instructed his Beasley on-air DJ in Los Angeles named “Bootleg Kev”
to contact YouTube directly on 1/20/2019 and they pulled some strings that got Mr.
Mishiyev’s channels terminated. Plaintiff also based on information and belief, alleges that
Mr. Davis told many local venues in the Tampa, Florida area that unless they stopped
allowing Mr. Mishiyev to appear, that Wild 94.1 would not promote those venues or let
them advertise with their station.

26. In a text message from Plaintiffs witness Amber Bogart on 10/22/2022 from her cell phone
number (813) 263-****, she contacted a Club owner she knew in Tampa and asked him
what he thought about Mr. Mishiyev. She texted Italo Pignano, who runs multiple nightlife
venues to see what he thought about DJ Short-e and he stated, “he’s been asking me to DJ
since like 2011...he has a horrible reputation...all the DJs in town make fun of him
online. ..that’s why I never tried him”. See Composite Exhibit “B”

27. Based on this text message evidence from 10/22/2022, Defendant successfully ruined
Plaintiff’s reputation throughout the years and manipulated the masses against him using
his weight as the star and bog boss of Beasleys radio station. We have evidence of sabotage
on the air, in private and even in public on his social media posts where he made false
allegations that Mr. Mishiyev was a drug user, made fun of his Jewish last name and DJ
skills and ridiculed Plaintiff's business Hot4Ever LLC by calling it “Hot for Never”.
Defendant tagged the follow individuals in his Facebook page:

28. Angel Soto - (Owns a music distribution and publication company.)

29. Johnathan “King JB” Galloway (On Air DJ works for Orlando Davis Wild 94.1FM)

30. Ed “Special Ed” Grube (On Air DJ works for Orlando Davis Wild 94.1FM)

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31. Keith Day (Promotions department worked for Orlando Davis)

32. Casey Turner (DJ and Cast member on Big Brother season 11, nationwide TV show)

33. Luis Linares (Nightclub Promoter and DJ in Tampa)

34. Jamie Ferreira (iHeartRadio 93.3FLZ mix show coordinator and on-air DJ)

35. Greg Wolf (Vice President of Street Laced Marketing | In-Game Host for the Tampa Bay
Lightning & USF Athletics) his company hires Tampa Bay DJs for tons of events! .

36. Hugh Causey Alexander III aka DJ Coz (On air Mix-show DJ / Production Department at
Beasley Media Group)

37. Doug Hensel -- Celebrity event promoter, TV Product Expert on HSN television, DJ)

38. Broderick Scott — (On-Air Personality at Beasley Media Group Wild 94.1FM)

39. Gus Stick Rodriguez — (Local nightclub DJ)

40. Kevin Cummings — On Air Personality at Beasley Media Group Wild 94.1FM)

41. DJ Christion — (Wild 94.1 On air DJ and signed to “Terror Squad” a major record label)

42. Charles Ku — (Local DJ and Promoter)

43. Clear evidence of this is found in multiple screenshots from Facebook along with more
evidence that shows clear intent of employment interference by Beasley Media DJs, not
only Tampa Bay, but in other major markets they operate in as well including Los Angeles
and North Carolina. Defendant is seen tagging employees at his and other radio stations to
further ruin Plaintiff's employability. See Composite Exhibit “C”

44. These include on-air employees of Beasley Media, such as Stu Robinson in North Carolina,
who on 02/17/2017 wrote “You will never get fired from radio because you will NEVER
work at one” and another Beasley Media on-air DJ at the time named Bootleg Kev, who
interfered with Mr. Mishiyev’s YouTube channels on 01/20/2019.

45. There is evidence and screen shots from other local Tampa radio stations like 93.3 FLZ
which is an iHeartMedia owned station where their DJs admitted they didn’t hire Mr.
Mishiyev either because of what Mr. Davis has been doing and saying, such as in this
public post seen from Jamie Ferrera an iHeartradio DJ and mix show coordinator on
02/16/2017 that states “We didn’t hire him like 20 times”. This stems from the picture Mr.
Davis has painted of Mr. Mishiyev over the years, behind closed doors, on the air, in

private, on the internet and even in public in front of many witnesses.

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46. Mr. Mishiyev is Jewish and his allegations and accusations of antisemitism by Defendant
were reaffirmed on 07/01/2021 by a former employee Skyla Lucky who was the traffic
reporter working for Mr. Davis at the time, she heard and saw the Defendant Mr. Davis
making fun of employees on Jewish Holidays several times. She even put in a complaint,
but no action was taken by Beasley executives. See Composite Exhibit “D”

47. In a social media post from 02/16/2017, a radio DJ from 93.3FLZ named David Martinez
made a comment underneath a video Defendant Davis posted that said, “Tell you one thing
Orlando Davis, lol iHeartMedia doesn’t want him either”, referred to the ongoing efforts

of Mr. Davis to exclude Mr. Mishiyev from work opportunities in the entertainment or
radio industry.

48. For example, Mr. Mishiyev used to work at Club 1509 aka Club Skye on a contract where
he was the promoter and DJ. He invented “Best of Both Worlds” on the weekends at this
club in Ybor City and worked hard and invested a lot of money to build a crowd, until Mr.
Davis came to this nightclub in 2005 and sabotaged the Plaintiff for the first time and got
his contract cancelled after he lied to the club owners and said Plaintiff used illicit drugs
and that white boys should not be throwing Hip hop parties. Mr. Davis got Mr. Mishiyev
fired from his own event and took Plaintiffs contract over for the next 20 years, up until
this year on 02/25/2023 as seen on the advertising flier in the Exhibits of this complaint.
See Composite Exhibit “G”

49. Defendants only stopped these broadcasts because Plaintiff threatened a lawsuit. It is well
known that Defendants stole Plaintiffs “Best of Borth Worlds” event creation, which made
Club Skye, Beasley Media Group, Wild 94.1FM and Mr. Davis well over $5,000,000
(Million) dollars, all based on Plaintiff's ideas and promotions he created at Club Skye
located at 1509 E 18" Ave, Tampa, FL 33605. Although Mr. Mishiyev paved the way for
the Defendants to profit at this club, he was never offered an opportunity to come back and
work there after numerous attempts. Wild 94.1FM broadcasted their Friday/Saturday night
B.O.M.B. on the air promoting and profiting off Plaintiff ideas for 20 years. Mr. Mishiyev
has photos of his events at Club Skye to prove his allegations and a key witness affidavit.
See Composite Exhibit “E”

50. Mr. Mishiyev is an honest hard-working person and has always promoted a drug-free

lifestyle and is willing to take a drug test to prove his case. There were never any fights or

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violence at Mr. Mishiyev’s events. After Defendant got Plaintiff fired from Club Skye and
Beasley’s radio station took over, many fights and even gun violence has occurred at Club
Skye. What was once a classy event hosted by Mr. Mishiyev and his friends, turned into a
violent thugged out nightclub hosted by Mr. Davis and his Wild 94.1FM DJ’s. Mr.
Mishiyev suspects that Mr. Davis was jealous and envious of Mr. Mishiyev’s image,
talents, the type of crowd he drew, the superstar potential he held but instead of helping
him, he decided to destroy the competition with Sabotage using his corporate radio
platform. Mr. Mishiyev is a self-employed DJ and a student trying to find a stable job while
dealing with this horrific nightmare of constant attacks from Mr. Davis and his affiliates.

51. On April 17, 2021, Mr. Davis released an incriminating smoking gun video on Instagram
which was unprovoked by Mr. Mishiyev and seen by many local industry and national
contacts which. This video remains on-line to this day. Plaintiff would like to play and
present this video evidence to the court at a hearing and believes if a Jury would see this
video, Mr. Davis would be found guilty of sabotaging Mr. Mishiyev and his DJ career.

52. Meanwhile, Mr. Davis and Beasley Media (Wild 94.1FM) are still making money off Club
Skye on the weekends where their DJs and station get paid at a club that Mr. Davis got Mr.
Mishiyev fired from on or about December 11, 2004.

53. This pattern of sabotage stems back many years and evidence will also show that in the

Summer of 2006, there was a nationwide music video contest (the “contest”) in Tampa Bay
and the record label of Mr. Mishiyev “Hot4ever LLC” received a lot of positive media
attention in Tampa and local support, however Mr. Davis did not support Mr. Mishiyev or
his recording artist and instructed his on-air DJs at Wild 94.1FM to throw the CD’s in the
garbage and not play any songs from any artists associated with the Plaintiff Mr. Mishiyev.
54. Mr. Mishiyev’s artist Dan Taub AKA Verbal Science did not win the contest because
Defendant used his contacts and connections at Epic Records to make sure they did not
win this contest, which had as its grand prize, a record deal with EPIC Records, instead DJ
Khaled got a deal with Epic Records in 2006. Mr. Mishiyev believes DJ Khaled a
Palestinian radio DJ turned Record Executive from Miami, who’s worth 75 million dollars,
paid off and teamed up with Mr. Davis to sabotage and blackball the Plaintiff DJ Short-E
a Jewish white DJ who was on his way to national success. This type of ruthless behavior

is evil and should not be tolerated, thus why discovery is so important in this case.

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55. In the radio and music business independent artists like Mr. Mishiyev need to be cordial
with people like Mr. Davis and Radio stations like Beasley media and Mr. Mishiyev tried
for 20 years to avoid a lawsuit but after Mr. Davis publicly admitted what he’s been doing
for the last 20 years, Mr. Mishiyev had no choice. Again, this can be corroborated.

56. After many years of turning down Mr. Davis’ sexual advances and enduring unprofessional
comments and conduct from Mr. Davis, a former Jewish employee Allison Gordon AKA
‘Ali That Girl’, left her employment at Wild 94.1FM and is willing to provide testimony
and evidence in this matter as to the conduct of Mr. Davis as it relates to the allegations of
Mr. Mishiyev.

57. Plaintiff prays and respectfully requests that all these social media screenshots and text
messages be carefully reviewed by this court which are attached to the end of this
Complaint as exhibits.

58. While Wild 94.1 is owned by Beasley, there is little to no supervision by on-air
personalities such as Mr. Davis, as long as their stations are successful.

59. Mr. Mishiyev has been harmed and suffered unrepairable damage to his reputation and
livelihood so badly that he had to file Bankruptcy in 2021. Plaintiff lost his local DJ jobs,
he lost his YouTube channels, he has no ability to perform as he once did in Tampa, Florida
and beyond and through being sabotaged by Mr. Davis, he is not able to perform at Wild
94.1 or any other Beasley and competing Florida radio stations.

60. Mr. Mishiyev has, through the actions of Mr. Davis lost over $150,000 of yearly revenue,
with the damages continuing to accrue and believes he is owed over $10,000,000
(MILLION) dollars in lost revenue over a span of 20 years starting in 2004 ending in 2023.

61. Furthermore, based on evidence, information obtained and belief, Mr. Davis is engaged in
a long-standing illegal PAY TO PLAY SCHEME known as “payola” or a form of bribery,
and the owners of Beasley Media Group know it! See Composite Exhibit “J”

62. An example of Payola is when artist and/or their managers or record labels will pay/bribe
radio stations and on-air personalities or DJ’s money to play certain songs in “heavy
rotation” (meaning the songs are played repeatedly) or play certain songs at nightclub
events so that those artists and songs will then become popular and be successful.

Sometimes even bribing Mr. Davis for an employment position as well.

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63. Mr. Mishiyev has also obtained a notarized affidavit from his key witness, Eric Green,
detailing his firsthand experiences with Mr. Davis preventing the Plaintiff Mr. Mishiyev
from conducting business in the Tampa, Florida area. That affidavit is attached to this
pleading as Composite Exhibit “E”.

64. Mr. Mishiyev is not a racist and has many Black, African American friends, however there
is a prevalent undercurrent in the hip-hop industry of White DJ’s and rappers being called
“culture-vultures”, or “wannabes”, etc.

65. It was this type of prejudice that has led to many of the hostilities that Mr. Davis has
directed at Mr. Mishiyev, who is White and Jewish.

66. Mr. Davis believes that White and/or Jewish people such as Mr. Mishiyev should not be
involved in the hip-hop industry, unless they meet his stamp of approval.

67. All of this came to a very violent confrontation when or about April 13th, 2021, when Mr.
Mishiyev went to a place called American Social in Tampa, Florida with his friend Alex
Rodriguez. See Composite Exhibit “H”

68. Mr. Davis must have stalked and showed up and waited outside of the establishment for
Mr. Mishiyev to leave and then attempted to start a physical altercation.

69. Mr. Davis first made fun of Mr. Mishiyev for representing himself pro-se in this lawsuit,
as by that time, Mr. Mishiyev did not have a lawyer for this lawsuit.

70: Mr. Davis noticed that Mr. Mishiyev was wearing a Star of David Jewish symbol around
his neck that night and lunged towards Plaintiff aggressively and stated, “I'll slap the shit
out of your white Jewish ass right now, you will never get work in this town.”

71. Mr. Davis also stated, “I don’t hire people like you at my station.”

72. Mr. Mishiyev only weighs 150 pounds and was there with one person, while Mr. Davis
weighs close to 300 pounds and had an entourage of people with him.

73. Quite frankly, Mr. Davis is out of control and his employer, Beasly needs to curtail his
outrageous and racist conduct.

74. When Mr. Mishiyev stated that he was not able to afford a lawyer and that Mr. Davis had
the luxury of having his lawyer paid for by his employer Beasley, Mr. Davis become further
enraged and stated, “I will slap the shit out of your Jewish ass.”

75. It is clear that Mr. Davis has ongoing hate and prejudice against people of Jewish heritage.

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76. Mr. Mishiyev was in fear for his life, and it was only after security at the establishment
intervened that Mr. Davis did not physically attack Mr. Mishiyev.

77. Alex is willing to testify in this matter regarding this incident.

78. Anti Semitism is evil and the Anti Slapp motion does not allow a national corporation like
Beasley Media and its program director or hiring managers like Orlando Davis to sabotage
a competitor, especially a local one who is a self-employed Jewish immigrant. It is illegal
to sabotage a competitor. Keep in mind Defendant holds an influential position and is
a public figure heard on the radio for 20 years as the morning show host on Wild 94.1FM,
but the Plaintiff, a once sought after DJ is now a struggling unemployed student who was
forced in Bankruptcy.

79. Governor DeSantis signed a new anti-Semitic bill (HB 269) in 2023. See section 2,
Subsection (9) of section 784.048, Florida 58 Statutes, is renumbered as subsection (10),
and a new subsection 59 (9) is added to that section, to read: 60 784.048 Stalking;
definitions; penalties — 61 (9) A person who willfully follows, harasses, or 62 interferes
with another person's quiet enjoyment based on the 63 person's wearing of religious-based
garments or garments 64 commonly associated with a particular religious or ethnic group
65 or any other indicia of any religious or ethnic heritage commits 66 the offense of
aggravated stalking, a felony of the third 67 degree, punishable as provided in s. 775.082,
s. 775.083, or s. 68 775.084. A violation of this subsection shall be considered a 69 hate
crime for purposes of the reporting requirements of s. 70 877.19.

80. Mr. Mishiyev was wearing a religious-based garment the day Defendant Assaulted him at

American Social Restaurant in Tampa.

COUNT I- ALL DEFENDANTS
(CIVIL RIGHTS ACT OF 1866 - INTENTIONAL RACIAL DISCRIMINATION)
81. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth herein.
82. Defendant has engaged in intentional racial discrimination, in violation of 42 U.S.C. §1981,
which is part of the Civil Rights Act of 1866.
83. By the conduct described above, Defendants intentionally deprived the Plaintiff of the same

rights as are enjoyed by white citizens to the creation, performance, enjoyment, and all

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benefits and privileges, of their contractual employment relationship with Defendant, in
violation of 42 U.S.C. §1981 (“Section 1981”).

84. As a result of Defendant’s discrimination in violation of Section 1981, the Plaintiff has
been denied employment opportunities providing substantial compensation and benefits,
thereby entitling him to injunctive and equitable monetary relief; and Plaintiff has suffered
anguish, humiliation, distress, inconvenience and loss of enjoyment of life because of
Defendant’s actions, thereby entitling him to compensatory damages.

85. In its discriminatory actions as alleged above, Defendant has acted with malice or reckless
indifference to the rights of the Plaintiff, thereby entitling him to an award of punitive
damages.

86. As a direct result of these practices, Plaintiff has suffered damages, including, but not

limited to, lost past and future income, compensation, and benefits.

WHEREFORE, Plaintiff, Mr. Mishiyey demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and costs

and further relief as the Court may deem just and proper.

COUNT II— AGAINST MR. DAVIS
(DEFAMATION)

87. In 2023 Governor DeSantis introduced a new bill HB 991 which states: Defamation, False
Light, and Unauthorized Publication of Name or Likenesses: Provides that journalist’s
privilege does not apply to defamation claims when defendant is professional journalist or
media entity; revises provisions concerning venue for certain actions; provides for attorney
fees & costs to prevailing plaintiffs in certain actions; specifies certain persons may not be |
considered public figures; provides certain allegations are defamatory per se; provides
statutory damages to prevailing plaintiffs who are subject of such allegations; creates
presumption that statement by anonymous source is presumptively false; provides public
figure does not need to show actual malice to prevail in defamation action...

88. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth herein.

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89. This is an action against Mr. Davis in his capacity as an on-air personality for Wild 94.1,
which is owned by Beasley and individually for damages for his Defamation published
against Mr. Mishiyev.

90. Mr. Davis’s false defamatory oral and written statements (the “defamatory statements”)
were intentionally published on his social media and was shared among dozens of people
in the hip-hop music industry and caused Plaintiff actual harm that can be provable.

91. The statements were untrue and made with the actual intent to sabotage with malice.

92. Mr. Davis made the defamatory statements with knowledge of the falsity or with reckless
disregard for their truth or falsity and in complete and reckless disregard of it devious,

harmful effect on Plaintiff's business and personal reputation. See Composite Exhibit “B”

93. Mr. Davis published the defamatory statements with ill will, hostility and with the intent
to injure and harm Mr. Mishiyev and his good reputation.

94, The Defamatory statements were used to hinder Plaintiff's employability.

95. As a direct and proximate result of the defamatory, malicious and slanderous publications,
Mr. Mishiyev’s business and personal reputation has been harmed, he has lost contracts,
jobs, prospects for employment, and in general, incurred injury to their reputation in the
music industry.

96. In 2011, Plaintiff was featured in a full-page newspaper article in the Tampa Bay Times
and was on his way to making a comeback here in the Florida market, until Mr. Davis
decided to put a stop to it by defaming the Plaintiff on his morning show just days later.
This is not common radio talk as Mr. Davis has not done this to any other DJ in Tampa
Bay, he specifically targeted the Plaintiff DJ Short-E, with intent to stop his momentum
out of envy and jealousy. Mr. Davis wants to run the Tampa Bay Market and will do
whatever it takes to retain his position of power. It is important to note that Beasley Media
Group and Defendant Davis have advertising/sponsorship ties. Although Tampa Bay
Times used to give Plaintiff lots of positive and free press prior to this incident in 2011,
this was the last time they supported Plaintiff. See Composite Exhibit “I”

97. Mr. Mishiyev has not been able to find employment since 2011, the same year that Mr.
Davis began to publicly and privately to 3" parties Sabotage Mr. Mishiyev using all his

resources given to his employer Beasley. Again, please See Composite Exhibit “B”

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98. This has continued in a pattern of illegal behavior up until today in 2023 and would set a
bad precedent against self-employed independent artists if it is allowed to continue.

99. It is important to note that not all of these examples in this complaint are being alleged to
be within the statute of limitations but instead are being used to show this court a pattern
of behavior which not only ruined the Plaintiff employment opportunities and reputation
but also sabotaged his business and put him in Bankruptcy. Actual harm has occurred.

100. Plaintiff has also suffered mental anguish, humiliation, shame, embarrassment and
losses of more than $10,000,000 (Million dollars) in past and future earnings.

WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and costs

and further relief as the Court may deem just and proper.

COUNT Ii —- ALL DEFENDANTS

(VIOLATIONS OF FLORIDA’S UNFAIR AND DECEPTIVE TRADE
PRACTICES ACT, CHAPTER 501, PART 1, FLORIDA STATUTES)

101. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth
herein.

102. Pursuant to § 501.204 (1), Florida Statutes, “Unfair methods of competition,
unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of
any trade or commerce are hereby declared unlawful.”

103. As set forth in the above paragraphs, Defendants have engaged in a pattern of
misinformation, deception and unconscionable acts and practices, and unfair and deceptive
acts and practices in the conduct of trade and commerce with regards to the lease agreement
and the failure to make repairs to the Property.

104, Pursuant to § 501.211 (1), Florida Statutes, “Without regard to any other remedy
or relief to which a person is entitled, anyone aggrieved by a violation of this part may
bring an action to obtain a declaratory judgment that an act or practice violates this part -
and to enjoin a person who has violated, is violating, or is otherwise likely to violate this

part.”

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105. Furthermore, pursuant to § 501.211 (2), Florida Statutes, “In any action brought by
a person who has suffered a loss as a result of a violation of this part, such person may
recover actual damages, plus attorney’s fees and court costs as provided in s. 501.2105.”

106. Defendants have willfully engaged in the acts and practices as outlined in the above
paragraphs, when they knew or should have known that such acts and practices were unfair
and deceptive or otherwise prohibited by law.

107. These above-described acts and practices of the Defendants have injured and will
likely continue to injure and prejudice the Plaintiff.

108. Unless the Defendants are temporarily and permanently enjoined from engaging
further in the acts and practices complained of herein, the Defendant’s actions will result
in irreparable injury to the Plaintiff for which there is no adequate remedy at law.

109. As a direct and proximate result of Defendant’s unfair and deceptive practices,
Plaintiffs have incurred damages substantially in excess of $30,000.00, which include, inter
alia, direct and consequential damages, extra expenses, loss of profits, attorney’s fees and

damage.

WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and

costs and further relief as the Court may deem just and proper.

COUNT IV — AGAINST MR. DAVIS
(INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
. 110. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth
herein.

111. The acts of Mr. Davis described herein constitutes outrageous conduct against Mr.
Mishiyev. These acts terrorized Mr. Mishiyev and were intended to cause Plaintiffs to
suffer emotional distress, or, in the alternative, Mr. Davis engaged in the conduct with
reckless disregard of the high probability of causing Mr. Mishiyev to suffer emotional
distress. .

112. Mr. Mishiyev suffered severe emotional distress and the outrageous conduct of Mr.

Davis was a cause of the emotional distress suffered by Mr. Mishiyev.

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113. The outrageous conduct of Mr. Davis constitutes intentional infliction of emotional

distress and is actionable under the laws of the State of Florida.

WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and costs

and further relief as the Court may deem just and proper.

COUNT V —- AGAINST BEASLEY

: (NEGLIGENT SUPERVISION)
114, Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth
herein.
115. At all times relevant, Mr. Davis was employed by Wild 94.1, which is a radio

station that is owned by Beasley and listed as one of the radio stations owned by Beasley
on its website, www.bbgi.com and at https://bbgi.com/brands/

116. Negligent supervision requires proof: 1) that an employer had actual or constructive
knowledge of the employee’s harmful propensities, ACTS Ret.-Life Cmtys. Inc. v. Estate of
Zimmer, 206 So. 3d 112, 114-15 (Fla. Dist. Ct. App. 2016)

117. In this matter, Beasley has actual or constructive knowledge of the harmful
propensities of Mr. Davis as Plaintiff has emailed and called Beasley Media Group to

- complain about this several times over the years even on 08/22/2023, but both Defendants

did not respond to any complaints or settlement attempts.

118. As a direct and proximate result of the defamatory, malicious and slanderous
publications, Mr. Mishiyev’s business and personal reputation has been harmed, he has lost
contracts, jobs, prospects of future employment, and in general, incurred injury to their
reputation in the entertainment, music and radio industries.

119. Beasly failed to supervise Mr. Davis or to supervise the managers of the Wild 94.1
radio station after numerous complaints made by Plaintiff and other former Employees.
120. Mr. Mishiyev was threatened by one of Mr. Davis’s radio fans when he received a
violent text message along with a picture of a gun on 06/16/2023. The police report number
for this incident is 23-256778. This stems from the bullying and the inciteful rhetoric of

16

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Defendant Mr. Davis who has been emboldened and allowed to abuse his position of power

to enrich himself for personal gain.

WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and costs

and further relief as the Court may deem just and proper.

COUNT VI- AGAINST MR. DAVIS

(ASSAULT)
121. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth
herein.
122. The basic elements which establish an assault are an awareness by the victim of

imminent peril or fear of imminent bodily harm, coupled with an apparent present ability
to inflict injury. Earven v. State, 2021 Fla. App. LEXIS 14004 (Fla. 1st DCA 2021)
123. Mr. Davis placed Mr. Mishiyev in a position where he was aware of imminent peril
or fear of imminent bodily harm, coupled with an apparent present ability on the part of
Mr. Davis to inflict injury.
124. On another note, Defendant Davis’s arrogance almost got someone killed when he
was recently arrested on DUI charges with injury and property damage to another car/persons
on July 22"4, 2023, See Composite Exhibit “F”
WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for past and
future compensatory damages, punitive damages and an award of reasonable attorneys’ fees and

costs and further relief as the Court may deem just and proper.

COUNT VII - ALL DEFENDANTS
(INTENTIONAL INTERFERENCE WITH BUSINESS RELATIONS)

124. Plaintiff asserts and re-alleges the allegations set forth above, as if fully set forth
herein.
125. As a result of the interference against his DJ and event business, Plaintiff lost his

livelihood, his fiancé, his good reputation and had to file for Chapter 7 Bankruptcy.

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126. The actions of Defendants as previously described constitute a knowing intentional
and unjustified interference with his business relationships.

127. As a proximate cause and result of the unlawful actions of Defendants, Plaintiff has
suffered damages, including loss of income, loss of profits, and loss of business goodwill
and business relationships.

128. Under Florida law, the elements of tortious interference are: (1) the existence of a
business relationship, even if not evinced in a formal written agreement; (2) that the
defendant knew of the relationship; (3) the defendant intentionally and unjustifiedly
interfered with the relationship; and (4) damage to the plaintiff as a result of the breach of
the relationship. Ethan, Allen, Inc. v. Georgetown Manor, Inc., 647 So.2d 812, 814
(Fla.1994)

129. “Claims for tortious interference do not have to be pled with specificity. See
Proctor & Gamble, Co. v. Haugen, 222 F.3d 1262, 1279 (10th Cir.2000) (tortious
interference with business relationship claims must be pleaded in accordance with federal
standard set forth in Federal Rule of Civil Procedure 8(a)). Under the Federal Rules a
plaintiff is only required to include "a short and plain statement of the claim showing that
the pleader is entitled to relief." Bray & Gillespie Management LLC v. Lexington,Ins., 527
f. Supp. 2d 1355 (M.D. Fla 2007)

WHEREFORE, Plaintiff, Mr. Mishiyev demands judgment against the Defendants for
compensatory damages, punitive damages and an award of reasonable attorneys’ fees and costs

and further relief as the Court may deem just and proper.

DEMAND FOR JURY TRIAL
Plaintiffs hereby demand a trial by jury on all issues within this Complaint.
RESPECTFULLY SUBMITTED this 28th day of August 2023.

By: ba Ly
Plaintiff, ERIK MISHIYEV

Seon G@ Ihrecth kes Way #-D1%
Tampa FL 334l|

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COMPOSITE EXHIBIT “A”

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COMPOSITE EXHIBIT “B”

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Case 8:23-cv-01940-KKM-TGW Document1 Filed 08/28/23 Page 23 of 45 PagelD 81

COMPOSITE EXHIBIT “C”

Case 8:23-cv-01940-KKM-TGW Document1 Filed 08/28/23 Page 24 of 45 PagelD 82

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-ARLANDAL ORLANDO DAVIS

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Radio ! Because u will never work at one !!! Lmao !! With all your
YouTube “success” u are still unknown !! Explain that? Lol
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ry Erik Mishiyev Stu Robinson im unkown but my name keeps coming
out of your mouth, you know me! lol
Like - Reply

aa Stu Robinson Erik Mishiyev we enjoy clowning u !! | love to laugh and
you are the biggest joke out this month !! Have your assistant call me
again! Lol
Like - Reply

a Erik Mishiyev These types of things cause people to not want to work
with me anytime someone broadcasts negative or false information is
slander libel, its a small community i thought you knew better than
that. Please just mind your business ori am going to add your station
to my suit. Delete this post immediately, ive already snapshotted it and
using it as evidence and proof that when Orlando says something
about me it has a trickle down effect with other djs and people have
false misconceptions about me. Good luck to you in Charlotte!

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Replies to Mikey's comment on Tampa Bay Hot ‘View Post
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U may want to find a better dj

1 hour ago - Unlike + g@ 1° Reply

FS Amber Danielle
Yaaaasssss. Sj &9 Ss
58 minutes ago ° Like - g) 1: Reply

a Tampa Bay Hot Spots
We have the most viral dj in Tampa thanks for your
input.

Amber Danielle
You have a dj that got roasted by a syndicated radio
show and clowned by dj's everywhere. Yea, you're
good lol.

} Write a reply... «)
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COMPOSITE EXHIBIT “D”

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holiday making fun of her. I'd
heard enough and contacted
their HR on him. HR didn't do
anything. Instead, they moved
me to Tampa to report from the
iHeart Media building. (At the
time they had a contract with
Total Traffic Network owned
business iHeart...that’s why
they could do that.)

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COMPOSITE EXHIBIT “E”

Case 8:23-cv-01940-KKM-TGW Document1 Filed 08/28/23 Page 33 of 45 PagelD 91

Case 8:23-cv-01940-KKM-TGW Document 1 Filed 08/28/23 Page 34 of 45 PagelD 92

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COMPOSITE EXHIBIT “F”

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Inmate

DAVIS, ARLANDAL ENNIS

Ravina

Booking Number: 2023-23360
Arrest Date: 07/22/2023
SOID: 00519706

SOID Name: DAVIS, ARLANDAL
Arrest Age: 52

DOB: 06/21/1971
POB: IN

Current Age: 52
Sex: M

Race: B
Ethnicity: N
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Height: 5'11
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COMPOSITE EXHIBIT “G”

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COMPOSITE EXHIBIT “H”

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COMPOSITE EXHIBIT “I”

LISTS | TECHNOLOGY

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ON THE SHORT LIST

Erik Mishiyev, a.k.a. DJ Short-e, has been an aspiring mogul since high school, when he got his first
turntable. Since then, he's DJ'd at clubs around the world, interviewed celebrities like Trina, Pharell
Williams and David Blaine, developed a network of nightlife websites and created a local-access TV
program, The Short-e Show, that aired inthe mid 2000s. * Building such a resume requires Mishi-
yev to maintain huge scrolls of business contacts, e-mail addresses, music mixes, VIP guest lists
and more. * Mishiyev, 32, now splits his time between Tampa, New York and Miami, where he's
working on an updated version of The Short-e Show. We recently chatted about the technology he
uses to build his brand — and perhaps someday an empire. — Jay Cridiin cridin@tampabaycom

STEP 1: GET CONNECTED

Networking is all about connections, and Mishiyev began
making them at an early age. “Before there was the
Internet, I was actually a computer nerd. 1 had my own
Bulletin Board System, a BBS — I used to run a BBS as
a high school kid with like three phone lines in my base-
ment.” His website went up in 1996, "They'd see a sec-
tion where they could put their e-mail address and click
submit, and be part of my newsletter list. I'd build my list
that way.” Today he estimates he has about 25,000 con-
tacts, including e-mail addresses, cell numbers and social
media. He uses an e-mail marketing service called Mad
Mimi to keep his database intact.

GO DIRECT WITH TEXT

In New York, Miami and Tampa, Mishiyev has a collection
of cell numbers that he can utilize
for direct-text alerts. When he’s in

DJ Short-e town for a gig, he can let hundreds
Hell be cel- of friends know with a few thumb-
ebrating his strokes. "But you don't want to be
birthday with 2 to annoying with it,” he says. “I
party the week don't have 10,000 cell-phone num-
of Jan. 17 at bers — I just don't talk to that
Hyde Park Café many people. ... I know promoters
in Tampa. Watch who pay for that stuff and do that.
short-e.com for But I'm more personal when it
details.

comes to the cell-phone thing.”

WATCH AND LEARN

These days, Mishiyev’s endgame is getting people to check
out his YouTube channe! (youtube.com/theshorteshow),
which is a source of revenue that enhances his brand, “I
like to use the e-mail list to get my videos to go viral,”
he says. "An event is great, but if you want to get a
video out, it’s all basically by people clicking on the link,
checking out the video, interacting, commenting, rating
the video, sharing the video.” Over the years, he has cal-
culated that for his videos to get optimal attention, the
best time to send out a link is late in the week, around
7 p.m, so people on both coasts can check it out during
prime surfing hours. His strategy seems to be working
— Mishiyev’s YouTube videos get 5,000 hits a day, and
have drawn more than 10 million views since 2006.

CREATING PLAYLISTS
“To this day T still would like to represent on the radio, or

Handout photo
Aspiring music mogul DJ Short-e offers networking tips.

dicated nationally,” Mishiyev says. “That's the goal.”
for AOL Radio. When he's in a club, though, his strategy
is based on that night's vibe. "A lot of times I'll do what's
called open format — I'll read the crowd, and based on
my experience and keen eye and unique tastes for music,
I'll play something that'll make everybody happy. But I
tend to like to keep the ladies happy, primarily. As long as
the gitls are dancing, everybody's happy.”

MANAGING IT ALL

So how does Mishiyev manage his personal to-do list?
Simple: A virtual assistant. “She's in New York,” he says.
“She has a spreadsheet where she keeps my booking log,
my contacts, my promoter list, the different people we
want to touch this coming year, some of our goals.” When
he's in a city for an extended period, he sometimes hires a
temporary assistant who knows the scene. But it's usually
just someone young who wants experience. “I'm not P.
Diddy yet,” he laughs. “I just can’t put people on a salary.”

Granuary 7, 2011 )

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COMPOSITE EXHIBIT “J”

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